  Case: 1:18-cv-00481-MRB-KLL Doc #: 2 Filed: 07/18/18 Page: 1 of 7 PAGEID #: 13

                                                                                                    COPY




                                       COURT   OF   COMMON   PLEAS
                                       HAMILTON COUNTY,       OHIO




LAMAR    PASSMORE
      PLAINTIFF
                                                                                         Use ijelow number on
                                                                                         all future pleadings
          --    vs   --

                                                                                 No.     A 1803087
                                                                                              SUMr-ICNS
DBPARMENT       OF HOMELAND    SECURITY
        DEFENDANT




        FBI    HEADQUARTERS
        935    PENNSYLVANIA   AVENUE     NW                       D   -   4
        WASHINGTON DC       20535-0001




You   are notified
that you have been named Defendant(s)               in a   complaint filed by

        LAMAR    PASSMORE




                                                                                                     Plaintiff(s)
in the Hamilton County,         COMMON PLEAS CIVIL Division,
AFTAB PUREVAL, 1000 MAIN STREET ROOM 315,
CINCINNATI, OH 45202.
You are hereby summoned and required to serve upon the plaintiff's
attorney, or upon the plaintiff, if he/she has no attorney of record, a
copy of an answer to the complaint within twenty-eight {28) days after
service of this summons on you, exclusive of the day of service. Your
answer must be filed with the Court within three (3) days after the
service of a copy of the answer on the plaintiff's attorney.

Further, pursuant to Local Rule 10 of Hamilton County, you are also required to
file a Notification Form to receive notice of all future hearings.

If you fail to appear and defend, judgement by default will be rendered
against you for the relief demanded in the attached complaint.




Name and Address of attorney                                          AFTAB      PUREVAL
LAMAR   PASSMORE                                                      Clerk,      Court of Common Pleas
                                                                              Hamilton County,        Ohio


                                                             By       RICK HOFMANN
                                                                                                      Deputy



                                                             Date:            June     22,   2018




 II
D12226C907




                                                                                                    EXHIBIT A
    Case: 1:18-cv-00481-MRB-KLL Doc #: 2 Filed: 07/18/18 Page: 2 of 7 PAGEID #: 14



                              In The Court Of Common Please
                                   Hamilton County, Ohio




Lamar Passmore
                                                               no,
Plaintiff,
                                                                            COPY FILED
                                                                            CLERK OF COURTS
    V.                                                                      hamii^on countv

Department OfHomeland Security                                                JUN 2 1 2018
245 Murray Lane SW
Washington, DC 20528-0075
                                                                             aftab pureval
                                                                         COMMON PLEAS COURTS
Central Intelligence Agency
Office Of Public Affairs
Washington, DC 20505                                          f„r                    X- Q!s(as
National Security Agency
9800 Savage Rd. Suite 6272
Ft. George G. Meade, MD 20755-6000

F.B.I. Headquarters
935 Pennsylvania Avenue, NW
Washington, DC 20535-0001

Defendants.




                                          Count One



     1. Freedom ofReligion, Press &Expression was prohibited. I couldn't assemble peacefully
        in my places ofworship without informants andjprovocateurs causing discord, dissension
        and corruption. I was defamed to the press and amongst the non press. I was prevented
        from fully expressing my freedom of speech on many social media platforms.

                                          Count Two
Case: 1:18-cv-00481-MRB-KLL Doc #: 2 Filed: 07/18/18 Page: 3 of 7 PAGEID #: 15




2. Right to Bear Arms. My right to acquire aweapon(long rifle or hand gun) and a
   concealed carry license was infringed upon.
                                     Count Three



3. Search &Seizure. I was not secure in my apartment when I was there nor when Iwasn t
   there. Intellectual property was seized and analyzed. My medical records were unlawfully
   seized and manipulated for devious purposes. The warrant issued could not have been
   declared without the issuer and those who signed off on it committed treason. The
   defendant's probable cause was instigated/forged/planned aka set up to falsely prove a
   narrative that they had incited. Speculation avails naught, conjecture avails naught and
   assumptions avail naught.

                                     Count Four



4. Ri«ht to aSpeedy Trial, Confrontation ofwitness. Iwas not informed ofthe nature and
    cause ofthe accusation. When I requested to be informed I was not informed matimely
    manner.
  Case: 1:18-cv-00481-MRB-KLL Doc #: 2 Filed: 07/18/18 Page: 4 of 7 PAGEID #: 16



                                          Count Five



       5 Trial and Punishment, Compensation for Takings. I was being compelled to commit a
heinous act in which 1would be labelled as afelonious criminal then therefore would have been
barred from even obtaining alicense to carry along with other punishments that would have
suited the defendant's presentiments. My private apartment unit under the management ofExcel
Property Development Inc. was used for throwing parties that Idid not condone nor approve of.
The defendants had afelonious malicious intent to deprive me totally of my life, liberty and
clearly of my property. The FISA court is not aGrand Jury. The Federal Government o^y
consists ofthree branches respectively known as the judicial, legislative and executive. These
branches do not list any federal agency as being apart ofthe government. The treasui^ does not
cut these agencies asalary in order to run operations, although Members ofthe actua
aovemment sit on boards &committees ofthese agencies but by doing so they have committed
Treason against the constitution that they were supposed to uphold. My wages were being
garnished via amanipulated ESS result. The enumeration ofadding another court disparaged the
rights ofthe people and by doing so was treason; the punishment for treason for all those
involved is the death penalty and should strongly be upheld no matter what class of society o
family lineages the culprits come from.


                                            Count Six




        6. Powers ofthe States and People. Any delegation to the U.S. that is not in cahoots to
the constitution is treason.




                                           Count Seven



        7. Slavery Abolished, (sex slaves/comfort women)


                                           Count Eight



 state Law prohibits intercepting wire, oral, or electronic communications            wire^
 falls within an exception ofthe statue (e.g.. obtaining aconstitutional warrant the consent ofthe
 parties or in the ordinary course ofbusiness). Violation in Ohio constitutes afourth degre
 felony. "Failure to Disclose" on behalf ofthe telecom brands used.
   Case: 1:18-cv-00481-MRB-KLL Doc #: 2 Filed: 07/18/18 Page: 5 of 7 PAGEID #: 17




Wherefore, Plaintiff prays for judgement against the defendants     D.H.S., C.I.A. &NS.A
as follows:

              On all counts 40 Billion USD from each agency. Alump sum payment by eacl
agency who partook in the transgressions. With an accrued interest oflO% USD from each
agency per annum.




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   IMD rur\cv>j
1000 MAINSTRI
                        //////V7/'VW'/W/////7'/'/7/'''/////'/M'/'/                                                             neoposb^'
                              Case: 1:18-cv-00481-MRB-KLL Doc #: 2 Filed: 07/18/18 Page: 6 of 7 PAGEID #: 18
CINCINNATI Ohr4520Z*^                                                                                                          06/22/2018

COMMON PLEAS CIVIL
A 1803087 D4
                                                                                                               M

                                                         7n4 Slbfi b31D DflbE MT33




                                                          06/22/2018 SUMMONS & COMPLAINT
                                                          FBI HEADQUARTERS
                                                          935 PENNSYLVANIA AVENUE NW
                                                          WASHINGTON DC 20535-0001




                                                                                                               JUH 2 'I 2GV3
Case: 1:18-cv-00481-MRB-KLL Doc #: 2 Filed: 07/18/18 Page: 7 of 7 PAGEID #: 19
